Case 8:23-bk-10571-SC         Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39               Desc
                               Main Document    Page 1 of 18


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 7

 8
                                UNITED STATES BANKRUPTCY COURT
 9
                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
     In re                                                Case No. 8:23-bk-10571-SC
11
                                                          Chapter 11
12 THE LITIGATION PRACTICE GROUP P.C.,
                                                          CHAPTER 11 TRUSTEE’S OMNIBUS
13                  Debtor.                               UNILATERAL REPORT REGARDING
                                                          STATUS OF MOTIONS FOR
14                                                        ALLOWANCE OF ADMINISTRATIVE
                                                          EXPENSE CLAIM UNDER 11 U.S.C.
15                                                        §503(b)
16                                                        Date:      February 29, 2024
                                                          Time:      11:00 a.m.
17                                                        Ctrm:      Courtroom 5C – Virtual1
                                                                     411 West Fourth Street
18                                                                   Santa Ana, CA 92701
19 TO THE HONORABLE JUDGE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

20 COURT JUDGE AND ALL INTERESTED PARTIES:

21           Richard A. Marshack, in his capacity as the Chapter 11 Trustee (“Trustee”) of the bankruptcy
22 estate (“Estate”) of The Litigation Practice Group P.C. (“Debtor”), respectfully submits this omnibus

23 unilateral status report (“Status Report”) in advance of the status conferences to be held on February

24 29, 2024 regarding motions or applications seeking allowance of administrative expense claim

25

26 1
     This hearing date is designated Zoom Only, pursuant to Judge Clarkson’s self-calendaring
27 procedures. Video and audio connection information for each hearing will be provided on Judge
   Clarkson's publicly posted hearing calendar, which may be viewed online at: http://ecf-
28 ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.
                                               1
              TRUSTEE’S OMNIBUS UNILATERAL STATUS REPORT RE: ADMINISTRATIVE CLAIMS
Case 8:23-bk-10571-SC        Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                Desc
                              Main Document    Page 2 of 18


 1 (“Admin Claim”) under 11 U.S.C. §503(b). Pursuant to Court order entered on January 8, 2024, as

 2 Dk. No. 818, this Status Report will address each claim and the parties’ anticipated amount of time

 3 necessary for discovery and briefing. This Status Report will also address administrative claim of

 4 Israel Orozco, Dk. No. 862, which was filed on January 20, 2024, after Court entered its order but

 5 which is nonetheless on the docket for the February 29, 2024 hearing (“2/29 Hearing”).

 6            ADMINISTRATIVE CLAIM MOTIONS SUBJECT TO COURT ORDER
 7 Dk. No. 647, filed by Judith Skiba

 8         No further discovery needed. Upon completing the investigation, Trustee will shortly be
 9 filing a claim objection, opposing the entirety of Ms. Skiba’s administrative claim based on her

10 failing to allege any facts that would conform to requirements set out in 11 U.S.C. §503(b).

11         On July 30, 2023, Ms. Skiba filed a Proof of Claim No. 134 and then on September 14, 2023,
12 Ms. Skiba filed an amended Proof of Claim No. 134-1 in the amount of $20,000.00 for “refund, fees,

13 personal injury.” Ms. Skiba’s administrative claim motion, filed on November 8, 2023, seeks

14 $20,000.00 “for compensation for the harm that was done to her with Breach of Contract,

15 Defrauding the Creditor, Damaging her Creditor Score, and Defamation of Character.” In support of

16 her motion, Ms. Skiba attached her retainer agreement with Phoenix Law. In investigating Ms.

17 Skiba’s claim, Trustee found that Phoenix Law, through its lead attorney Ty Carss, had issued a

18 refund to Ms. Skiba in the amount of $600, and mailed it to her on August 3, 2023. The refund

19 check, according to Trustee’s communication with Ty Carss, appears to have been uncashed. A

20 copy of check #1000 and a copy of the letter accompanying the check are included as Exhibit 1,

21 partially in response to Ms. Skiba’s filing of two requests for court order for information (Dk. No.

22 867 and Dk. No. 902).

23 Dk. No. 665, filed by ADP

24         Trustee is currently investigating and verifying the $246,700.94 ADP claim. Trustee
25 anticipates requiring 4 weeks post-2/29 Hearing to complete discovery and for Trustee to brief and

26 file a substantive response.

27 //

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             TRUSTEE’S OMNIBUS UNILATERAL STATUS REPORT RE: ADMINISTRATIVE CLAIMS
Case 8:23-bk-10571-SC           Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39               Desc
                                 Main Document    Page 3 of 18


 1 Dk. No. 671, filed by United Partnerships

 2            Trustee is currently investigating and verifying the $178,665.70 United Partnerships claim.
 3 Based on ongoing communication with United Partnerships’ counsel, Trustee anticipates requiring 6

 4 weeks post-2/29 Hearing to complete discovery and for Trustee to brief and file a substantive

 5 response.

 6 Dk. No. 674, filed by Han Trinh

 7            Trustee is currently investigating and verifying the $136,280.56 Han Trinh claim. Based on
 8 ongoing communication with Han Trinh’s counsel, Trustee anticipates requiring 6 weeks post-2/29

 9 Hearing to complete discovery and to file a substantive response. Current investigation of Han

10 Trinh’s admin claim hinges on the exact date and the reason that her salary as Debtor’s employee

11 increased nearly ten-fold in the span of two and a half years, from $17.31/hr to $300,000/yr, to

12 determine whether Han Trinh received any payments that may be considered preferential. Han

13 Trinh’s declaration attached to Dk. No. 822, which states that she is “not financially well off”

14 indicates that the timing of the salary increase may fall within the preferential payment period and

15 Trustee may have to request Han Trinh to disgorge excess salary payment she received pre-petition.

16            As Han Trinh is no longer party to an adversary proceeding, Trustee is within his rights to
17 conduct a 2004 examination but anticipates that voluntary exchange of documents at this point may

18 suffice.

19 Dk. No. 675, filed by Phuong (aka Jayde) Trinh

20            Trustee is currently investigating and verifying the $114,825.14 Phuong (aka Jayde) Trinh
21 claim (“Jayde Claim”). Based on ongoing communication with Jayde Trinh’s counsel, Trustee

22 anticipates requiring 6 weeks post-2/29 Hearing to complete discovery and for Trustee to brief and

23 file a substantive response. Current investigation of Jayde Trinh’s admin claim hinges on the exact

24 date and the reason that her salary as Debtor’s employee more than doubled, from $120,000/yr to

25 $250,000/yr to determine whether Jayde Trinh received any payments that may be considered

26 preferential. Jayde Trinh’s declaration attached to Dk. No. 822, which states that she is “not

27 financially well off” indicates that the timing of the salary increase may fall within the preferential

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                                                 3
                TRUSTEE’S OMNIBUS UNILATERAL STATUS REPORT RE: ADMINISTRATIVE CLAIMS
Case 8:23-bk-10571-SC        Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                Desc
                              Main Document    Page 4 of 18


 1 payment period and Trustee may have to request Jayde Trinh to disgorge excess salary payment she

 2 received pre-petition.

 3         Further, Trustee is currently investigating a non-traditional salary arrangement Jayde Trinh
 4 appears to have had in that Debtor paid Jayde Trinh’s student loans. As Jayde Trinh is no longer

 5 party to an adversary proceeding, Trustee is within his rights to conduct a 2004 examination but

 6 anticipates that voluntary exchange of documents at this point may suffice.

 7 Dk. No. 676, filed by Greyson Law Center, PC

 8         Trustee is currently investigating and verifying the $5,134,000.00 Greyson Law Center claim
 9 (“Greyson Claim”). Based on the fact that Greyson Claim alleges that its attorneys handled 2,567

10 lawsuits in the post-petition admin period, Trustee anticipates requiring at least 8 weeks post-2/29

11 Hearing to complete discovery and for Trustee to brief and file a substantive response. Greyson

12 Claim did not identify the attorneys that Greyson alleges worked on Greyson’s behalf and so there is

13 considerable difficulty in assuring no overlap exists between Greyson claim and claims of individual

14 attorneys and other law firms listed below. Unless Greyson voluntarily produces documents that

15 Trustee requested of Greyson’s counsel, Trustee will submit formal discovery requests because

16 Greyson is a party in an adversary and so a 2004 examination is not possible.

17 Dk. No. 679, filed by Wells, Marble and Hurst, PLLC

18         Trustee is currently investigating and verifying the $67,786.14 Wells, Marble and Hurst,
19 PLLC claim (“MHW Claim”). MHW falls under similarly situated “attorney claimants” category

20 that Trustee is carefully investigating to assure there is no overlap with Greyson Claim and that

21 MHW’s allowed claim reflects the benefit done for the estate. Trustee anticipates requiring at least 6

22 weeks post-2/29 Hearing to complete discovery and for Trustee to brief and file a substantive

23 response.

24 Dk. No. 686, filed by SDCO Tustin Executive Center, Inc.,

25         Trustee is currently investigating and verifying the $206,045.84 SDCO Tustin Executive
26 Center, Inc. Claim (“SDCO Claim”). Based on exchange with SDCO’s counsel, Trustee anticipates

27 requiring 4 weeks post-2/29 Hearing to complete discovery and for Trustee to brief and file a

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               TRUSTEE’S OMNIBUS UNILATERAL STATUS REPORT RE: ADMINISTRATIVE CLAIMS
Case 8:23-bk-10571-SC         Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                 Desc
                               Main Document    Page 5 of 18


 1 substantive response.

 2 Dk. No. 693, filed by Melina Beltran

 3         Trustee is currently investigating and verifying the $30,400.00 Melina Beltran claim. Based
 4 on the current state of the investigation, Trustee anticipates requiring 4 weeks post-2/29 Hearing to

 5 complete discovery and for Trustee to brief and file a substantive response.

 6 Dk. No. 694, filed by filed by Kimberly Torres

 7         Trustee is currently investigating and verifying the $20,000.00 Kimberly Torres claim.
 8 Based on the current state of the investigation, Trustee anticipates requiring 4 weeks post-2/29

 9 Hearing to complete discovery and for Trustee to brief and file a substantive response.

10 Dk. No. 695 (amended by 727), filed by Melissa Wilkes

11         Trustee is currently investigating and verifying the $59,500.35 Melissa Wilkes claim
12 (“Wilkes Claim”). Wilkes falls under similarly situated “attorney claimants” category that Trustee is

13 carefully investigating to assure there is no overlap with Greyson Claim and that Wilkes’ allowed

14 claim reflects the benefit done for the estate. Trustee anticipates requiring at least 6 weeks post-2/29

15 Hearing to complete discovery and for Trustee to brief and file a substantive response.

16 Dk. No. 697, filed by David Orr, Esq.

17         Trustee is currently investigating and verifying the $31,068.45 David Orr, Esq. claim (“Orr
18 Claim”). Orr falls under similarly situated “attorney claimants” category that Trustee is carefully

19 investigating to assure there is no overlap with Greyson Claim and that Orr’s allowed claim reflects

20 the benefit done for the estate. Trustee anticipates requiring at least 6 weeks post-2/29 Hearing to

21 complete discovery and for Trustee to brief and file a substantive response.

22 Dk. No. 698, filed by R. Reed Pruyn

23         Trustee is currently investigating and verifying the R. Reed Pruyn claim (“Pruyn Claim”).
24 Trustee requested that Pruyn make a formal calculation of his claim as currently Pruyn does not put

25 forth a specific monetary amount owed to him. Pruyn falls under similarly situated “attorney

26 claimants” category that Trustee is carefully investigating to assure there is no overlap with Greyson

27 Claim and that Pruyn’s allowed claim reflects the benefit done for the estate. Trustee anticipates

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             TRUSTEE’S OMNIBUS UNILATERAL STATUS REPORT RE: ADMINISTRATIVE CLAIMS
Case 8:23-bk-10571-SC         Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                Desc
                               Main Document    Page 6 of 18


 1 requiring at least 6 weeks post-2/29 Hearing to complete discovery and for Trustee to brief and file a

 2 substantive response.

 3 Dk. No. 700, filed by Jorge E. Sanchez

 4         Trustee is currently investigating and verifying the $20,824.00 Jorge E. Sanchez claim.
 5 Based on the current state of the investigation, Trustee anticipates requiring 4 weeks post-2/29

 6 Hearing to complete discovery and for Trustee to brief and file a substantive response.

 7 Dk. No. 701, filed by Jaslynn Sanchez

 8         Trustee is currently investigating and verifying the $18,930.91 Jasslyn Sanchez claim. Based
 9 on the current state of the investigation, Trustee anticipates requiring 4 weeks post-2/29 Hearing to

10 complete discovery and for Trustee to brief and file a substantive response.

11 Dk. No. 702, filed by Peter Schneider

12         Trustee is currently investigating and verifying the $67,252.77 Peter Schneider claim
13 (“Schneider Claim”). Schneider falls under similarly situated “attorney claimants” category that

14 Trustee is carefully investigating to assure there is no overlap with Greyson Claim and that

15 Schneider’s allowed claim reflects the benefit done for the estate. Trustee anticipates requiring at

16 least 6 weeks post-2/29 Hearing to complete discovery and for Trustee to brief and file a substantive

17 response.

18 Dk. No. 706, filed by Amy Ginsburg, Kenton Cobb and Shannon Bellfield

19         Trustee is currently investigating and verifying the Ginsburg, Cobb and Bellfield claims that
20 have been submitted as part of one motion. Ginsburg and Cobb fall under similarly situated

21 “attorney claimants” category that Trustee is carefully investigating to assure there is no overlap

22 with Greyson Claim and that Ginsburg and Cobb’s allowed claims reflect the benefit done for the

23 estate. Bellfield is a paralegal who also handled legal files and whose work will be verified to have

24 been done for the benefit of the estate. Trustee anticipates requiring at least 6 weeks post-2/29

25 Hearing to complete discovery and for Trustee to brief and file a substantive response.

26 / /

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               TRUSTEE’S OMNIBUS UNILATERAL STATUS REPORT RE: ADMINISTRATIVE CLAIMS
Case 8:23-bk-10571-SC         Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                 Desc
                               Main Document    Page 7 of 18


 1 Dk. No. 707, filed by Randall Baldwin Clark, Attorney at Law, PLLC

 2         Trustee is currently investigating and verifying the $45,741.26 Randall Baldwin Clark claim
 3 (“Clark Claim”). Clark falls under similarly situated “attorney claimants” category that Trustee is

 4 carefully investigating to assure there is no overlap with Greyson Claim and that Clark’s allowed

 5 claim reflects the benefit done for the estate. Trustee anticipates requiring at least 6 weeks post-2/29

 6 Hearing to complete discovery and for Trustee to brief and file a substantive response.

 7 Dk. No. 708, filed by Herret Credit Consultants

 8         Trustee is currently investigating and verifying the $450,000.00 Herret Credit Consultants’
 9 claim (“Herret Claim”). Trustee anticipates requiring 4 weeks post-2/29 Hearing to complete

10 discovery and for Trustee to brief and file a substantive response.

11 Dk. No. 709, filed by Sharp Electronics Corporation

12         In Trustee’s investigating and verifying the $132,526.53 Sharp Electronics Corporation’s
13 claim (“Sharp Claim”), Trustee discovered that only $5,213.79 is alleged to have been accrued

14 during the post-petition admin claim period. Trustee has informed Sharp’s counsel that at most the

15 $5,213.79 would be allowable under §503(b). Trustee does not anticipate extensive discovery for

16 Sharp claim and will likely complete discovery and file a substantive response shortly after the 2/29

17 hearing. It may still be prudent to continue the hearing by 4 weeks.

18 Dk. No. 750, filed by Alteryx

19         Trustee is currently investigating and verifying the $703,089.94 Alteryx Claim. Trustee
20 anticipates requiring 6 weeks post-2/29 Hearing to complete discovery and for Trustee to brief and

21 file a substantive response.

22               ADMINISTRATIVE CLAIMS NOT SUBJECT TO COURT ORDER
23 Dk. No. 862, filed by Israel Orozco

24         On January 20, 2024, two months after the administrative claims bar date of November 21,
25 2023 passed, Israel Orozco filed “Motion to File Claim After Claims Bar Date,” seemingly without

26 entering into a stipulation with Trustee (“Orozco Claim”). Court set the motion for a hearing on

27 February 29, 2024, presumably to be a status conference, as with other admin claims filed in this

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             TRUSTEE’S OMNIBUS UNILATERAL STATUS REPORT RE: ADMINISTRATIVE CLAIMS
Case 8:23-bk-10571-SC          Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                Desc
                                Main Document    Page 8 of 18


 1 case. Trustee preserves Trustee’s right to object to late filing but nonetheless began investigating and

 2 verifying the claim.

 3           Orozco falls under similarly situated “attorney claimants” category that Trustee is carefully
 4 investigating to assure there is no overlap with Greyson Claim and that Orozco’s allowed claim

 5 reflects the benefit done for the estate. Trustee anticipates requiring at least 6 weeks post-2/29

 6 Hearing to complete discovery and for Trustee to brief and file a substantive response.

 7                                                   Conclusion
 8           Trustee requests that the Court continue the Status Conferences based on Trustee’s
 9 anticipated time for discovery.

10           Trustee requests that the following Dk. No. status conferences be continued by 4 weeks, to
11 March 28, 2024: 645, 665, 686, 693, 694, 700, 701, 708, 729.

12           Trustee requests that the following Dk. No. status conferences be continued by 6 weeks, to
13 April 11, 2024: 671, 674, 675, 679, 695, 697, 698, 702, 706, 707, 750, 862.

14           Trustee requests that Dk. No. 676, Greyson status conferences be continued by 8 weeks, to
15 April 25, 2024.

16

17 DATED: February 15, 2024                        MARSHACK HAYS LLP
18                                                 By: /s/ D. Edward Hays
19                                                     D. EDWARD HAYS
                                                       ALINA MAMLYUK
20                                                     General Counsel for Chapter 11 Trustee
                                                       RICHARD A. MARSHACK
21

22 4865-9962-3846, v. 1

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               TRUSTEE’S OMNIBUS UNILATERAL STATUS REPORT RE: ADMINISTRATIVE CLAIMS
Case 8:23-bk-10571-SC   Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39   Desc
                         Main Document    Page 9 of 18




                                                      EXHIBIT 1
Case 8:23-bk-10571-SC        Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39              Desc
                             Main Document     Page 10 of 18



                                                                                    Phoenix Law Group
                                                                         3347 Michelson Drive, Ste. 400
                                                                                       Irvine, CA 92612
                                                                                         (424) 622-4044
                                                                               service @phoenixlaw.co




 August 3, 2023



 Ms. Judith Skiba




 RE:     Refund Check #1000 - $600



 Dear Ms. Skiba,

 It was a pleasure to have you as a client of Phoenix Law, as indicated, we have terminated
 your contract and enclosed, please find a check for a full refund of payments made.

 All the best to you and yours in the future.

                                                   Sincerely,




                                                   Wm. Ty Carss, Esq.
                                                   Phoenix Law




 Enclosed: Check #1000




                                                                    EXHIBIT 1, PAGE 9
Case 8:23-bk-10571-SC   Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39   Desc
                        Main Document     Page 11 of 18




                                                        EXHIBIT 1, PAGE 10
        Case 8:23-bk-10571-SC                     Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                                      Desc
                                                  Main Document     Page 12 of 18

                                                         PROOF OF SERVICE
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: ADMINISTRATIVE CLAIM STATUS REPORT will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
February 15, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On February 15, 2024, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR – MAIL REDIRECTED TO TRUSTEE
 THE LITIGATION PRACTICE GROUP P.C.
 17542 17TH ST, SUITE 100
 TUSTIN, CA 92780-1981

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on February 15, 2024, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE SCOTT C. CLARKSON
UNITED STATES BANKRUPTCY COURT
411 WEST FOURTH STREET, SUITE 5130 / COURTROOM 5C
SANTA ANA, CA 92701-4593
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 15, 2024                        Layla Buchanan                                         /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC                     Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                                      Desc
                                                  Main Document     Page 13 of 18


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:


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 CREDITOR OXFORD KNOX,
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC                     Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                                      Desc
                                                  Main Document     Page 14 of 18

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 CREDITOR OXFORD KNOX,
 LLC
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 LLC; CREDITOR MC DVI
 FUND 1, LLC; and CREDITOR
 MC DVI FUND 2, LLC
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 ATTORNEY FOR CHAPTER                        D Edward Hays                      ehays@marshackhays.com,
 11 TRUSTEE RICHARD A                                                          ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;c
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC                     Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                                      Desc
                                                  Main Document     Page 15 of 18

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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC                     Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                                      Desc
                                                  Main Document     Page 16 of 18

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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC                     Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                                      Desc
                                                  Main Document     Page 17 of 18

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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC                     Doc 940 Filed 02/15/24 Entered 02/15/24 19:24:39                                      Desc
                                                  Main Document     Page 18 of 18

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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
